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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF NEW MEXICO,

Plaintiff,
vs. No. CR 19 936 WJ
RICHARD JOHNS,
Defendant.

MOTION TO WITHDRAW AND FOR SUBSTITUTION OF COUNSEL

COMES NOW Martin Lopez Ill, P.C. (Martin Lopez, III), appointed counsel for Defendant
Richard Johns, and pursuant to the Sixth Amendment of the United States Constitution and the
Criminal Justice Act, 18 U.S.C. § 3006 A, to respectfully request that this Honorable Court enter an
Order allowing undersigned counsel to withdraw from the representation of the Defendant and
substitute counsel from the Criminal Justice Act Panel, to represent the Defendant in all further
proceedings. As grounds the following is stated:

1. On June 24, 2019, undersigned Counsel was appointed to represent Defendant Johns
pursuant to the Criminal Justice Act. (Doc. 31). Counsel is Defendant Johns’ second attorney.

2. Mr. Johns is charged in an Indictment filed on March 27, 2019 with Bank Robbery in
violation of 18 U.S.C. § 2113(a). The alleged act took place in McKinley County, in the District of
New Mexico on’‘ér about February 19, 2019. (Doc. No. 15).

3. After discussions with prior counsel and review of the discovery in the case, undersigned
Counsel met with Defendant Johns and began discussions with the Government concerning a
resolution to this matter that would avoid the necessity of a trial. These discussions were
complicated by the extent of Defendant’s criminal history and were hampered because Defendant
is housed at the detention facility in Milan, New Mexico, thereby requiring two and one-half hours

of transit to have face-to-face visits with Defendant.
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4. Asaresult of Defendant’s prior criminal history which spans from 1990 to present in the
States of Arizona and New Mexico, undersigned Counsel requested copies of Defendant’s
Judgments for his prior convictions from the Government. The Government did not have the
requested documents. Thereafter, undersigned Counsel requested a criminal history analysis from
United States Probation to better provide Defendant with the sentencing guideline range (criminal
history category and guideline range) of the case.

5. In the present case, Call of the Calendar is scheduled for November 27, 2019. Trial is
presently scheduled for December 2, 2019. Motion deadline is October 21. (Doc. No. 37).

6. Appointed counsel addressed Mr. Johns’ concems to the best of his ability. Counsel is
a licensed attorney with 40 years experience as a trial attorney in the State of New Mexico, District
of Columbia, United States District Court for the District of New Mexico, United States Court of
Appeals for the Tenth Circuit, and the United States Supreme Court. A very beneficial plea offer
was presented to Mr. Johns by the Government which was under consideration and rejected.

7. On September 20, 2019 appointed counsel met with Mr. Johns to further discuss
continuing negotiations between appointed counsel and the Government. Rather than assure Mr.
Johns of the progress made to resolve his case, it now appears as if there has been a complete
breakdown in the communication between Mr. Johns and appointed counsel. Unfortunately,
counsel’s efforts‘have proven to be unsuccessful in resolving the conflict between Mr. Johns and
appointed counsel. Moreover, immediately after Friday’s meeting with Mr. Johns he filed a
“Dismiss Counsel” motion alleging “undue pressure and ineffective counsel” by appointed counsel.
(Doc. 38). Mr. Johns’ reasoning for appointed counsel’s “dismissal” is the identical reason he
alleged in seeking removal of his first attorney, Assistant Federal Public Defender Amanda R.
Lavin. (Doc. 26). Given Mr. Johns’ representations, which are disputed, and to avoid continued
claims of undue pressure and/or ineffective representation, undersigned counsel has no objection to

Mr. Johns’ request.
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8. Standards for the substitution of counsel are controlled by the Defendant’s constitutional
right to counsel which is protected by the Sixth Amendment of the Constitution. United States v.
Anderson, 189 F.3d 121, 1210 (10" Cir. 1999). To warrant a substitution of counsel, the defendant
must make a timely showing that good cause exists for the substitution of counsel based on an
irreconcilable conflict which could lead to any apparently unjust verdict. United States v. Lott, 310
F.3d 1231, 1249 (10" Cir. 2002). Mr. Johns cites no factual basis for his “Dismiss Counsel” motion.

9, Although a strategic disagreement between a defendant and his attorney is insufficient to
demonstrate good cause for the substitution of counsel, substitution is nonetheless required when
there has been a total breakdown in communication between the defendant and his court appointed
counsel which prevents the preparation of an adequate defense. United States v. Lott, 310 F.3d 1231,
1249, citing United States v. Doe #1, 272 F.3d 116, 124 (2" Cir. 2001), see also United States v.
Padilla, 819 F.2d 952, 955 (10" Cir. 1987).

10. A complete breakdown in communication between an attorney and his client may give
rise to a presumption of prejudice. United States v. Cronic, 466 U.S. 648, 658 (1984). This is so
because a breakdown in communication between an attorney and his client can at times be so severe
and disabling that even the most able counsel can be prevented from providing effective assistance.
United States v. Soto-Hernandez, 849 F.2d 1325, 1328 (10" Cir. 1988).

11. Inthis case there is, indeed, a complete breakdown in the attorney-client communication
between appointed counsel and Mr. Johns. Therefore, substitution of counsel is necessary in order
to safeguard Mr. Johns’ Sixth Amendment right to the effective assistance of court-appointed
counsel. It is apparent from Mr. Johns’ request to dismiss undersigned counsel and implicitly for
a substitution of counsel that appointed counsel can no longer function as the diligent and
conscientious advocate which the Sixth Amendment demands.

12. In addition, Mr. Johns’ request for substitution of counsel has created a conflict of
interest which requires the substitution of court-appointed counsel in order to safeguard Mr. Johns’

interest at any evidentiary hearing on this Motion.
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13. Whenever the Defendant makes a sufficiently specific factual allegation in support of
his request for new counsel, the District Court must hold a hearing on the Defendant’s request.
United States v. Lott, supra, 310 F.3d at p. 1249. At this hearing the District Court should make a
formal inquiry into the reasons for the Defendant’s dissatisfaction with his present attorney. Ibid.
Such a hearing is necessary because the District Court must determine if there is a severe and
pervasive conflict between the Defendant and his appointed attorney which would justify the
substitution of counsel. Ibid, see also United States v. Anderson, supra 189 F.3d at 1210 (the
District Court is:under a duty to make a formal inquiry into the reasons for the Defendant’s
dissatisfaction with his present attorney when substitution is requested.).

14. Nevertheless, a hearing in which defense counsel is called to account for his performance
in the face of a defendant’s claim of dissatisfaction places defense counsel in an irreconcilable
conflict of interest between advocating his client’s interests by advancing his claims of
dissatisfaction and defending his own actions as a member of the bar and an officer of the court.
See, e.g., United States v. Daugerdas, 735 F.Supp.2d 113, 116 (S.D.N.Y. 2010) [no waiver of
conflict where attorney’s conflict jeopardizes the integrity of the judicial proceedings because of the
attorney’s own personal, financial or liberty interests].

15. As a result of the dispute between Mr. Johns and counsel, substitute counsel should be
appointed to represent Mr. Johns. Counsel respectfully submits that the failure to substitute counsel
in this case will violate Mr. Johns’ Sixth Amendment right to the effective assistance of court
appointed counsél with whom he is dissatisfied, with whom he will not cooperate, and with whom
he will not effectively communicate. If Mr. Johns is forced to proceed further to a hearing to
advance his clainis of dissatisfaction with court-appointed counsel, he will also become embroiled
in an active conflict of interest with his own attorney because Mr. Johns’ court-appointed counsel
will face an irreconcilable conflict of interest between advocating Mr. Johns’ stated interests in
seeking a new attorney and defending counsel’s own actions on behalf of Mr. Johns, thereby

depriving Mr. Johns of the effective assistance of counsel at a hearing on the Motion. Cf. United
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States v. Soto-Hernandez, supra, 849 F.3d at 1328, citing Brown v. Craven, 424 F.2d 1166, 1 1709"
Cir. 1970).

16. Assistant U.S. Attorney Sarah Mease, counsel of record for the United States, has been
informed of this Motion to Withdraw and for Substitution of Counsel and Ms. Mease represents that
the Government takes no position on the motion. .

WHEREFORE, for all of the foregoing reasons and due to an irreconcilable conflict of
interest, appointed counsel for Mr. Johns respectfully requests that this Honorable Court allow his

withdrawal and substitute counsel..
Respectfully submitted,

MARTIN LOPEZ, III
A Professional Corporation

Electronically filed September 24. 2019
Martin Lopez, III

Attorney for Defendant Johns

1500 Mountain Rd. N. W.
Albuquerque, New Mexico 87104
Tele: (505) 243-2900

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 24th_of September, 2019, I filed the foregoing pleading

electronically through the CM/ECF system, which caused the following counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing to the following:

Sarah Mease, AUSA
E-Mail: sarah.mease@usdoj.gov

Electronically filed September 24, 2019
Martin Lopez, III
